                                          Case 3:18-cv-01881-RS Document 236 Filed 03/03/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6

                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                        LISA RENKEN, et al.,
                                  10                                                       Case No. 18-cv-01881-RS
                                                       Plaintiffs,
                                  11
                                                v.                                         ORDER STAYING CASE AND
                                  12                                                       VACATING DEADLINES
Northern District of California
 United States District Court




                                        FACEBOOK, INC.,
                                  13
                                                       Defendant.
                                  14

                                  15          The parties in this case have reached a settlement in principle. They intend to execute a

                                  16   formal settlement agreement shortly, and move for preliminary approval within 30 days. Thus, all

                                  17   proceedings in this case are stayed pending a ruling on the anticipated motion for preliminary

                                  18   approval of a class settlement; all current deadlines and hearings are vacated.

                                  19

                                  20   IT IS SO ORDERED.

                                  21

                                  22   Dated: March 3, 2022

                                  23                                                    ______________________________________
                                                                                        RICHARD SEEBORG
                                  24                                                    Chief United States District Judge
                                  25

                                  26
                                  27

                                  28
